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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc.; CommScope, Inc. )
                                        Civil Action No. 19-cv-15962-
   of North Carolina; and CommScope )
                                        JXN-LDW
   Technologies LLC,                  )
                                      )
                Plaintiffs,           )
                                      )
   v.                                 )
                                      )
   Rosenberger Technology (Kunshan) )
   Co. Ltd., Rosenberger Asia Pacific )
   Electronic Co., Ltd., Rosenberger  )
   Technology LLC, Rosenberger USA )
   Corp., Rosenberger North America   )
   Pennsauken, Inc., Rosenberger Site )
   Solutions, LLC, Rosenberger        )
   Hochfrequenztechnik GmbH & Co. )
   KG, Northwest Instrument, Inc.,    )
   CellMax Technologies AB, Janet     )
   Javier, and Robert Cameron,        )
                                      )
                Defendants.           )
                                      )
    _____________________________ )

       ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

        Defendants Rosenberger Technology (Kunshan) Co. Ltd. (“Rosenberger

  Kunshan”), Rosenberger Asia Pacific Electronic Co., Ltd. (“Rosenberger Asia

  Pacific”), and Rosenberger Technology LLC (“Rosenberger Technology”)

  (collectively “Rosenberger”), by and through their undersigned attorneys, hereby

  answer Plaintiffs’ Second Amended Complaint (the “Second Amended Complaint”)

  as follows:


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        1.     Rosenberger denies the allegations set forth in Paragraph 1.

        2.     Rosenberger denies the allegations set forth in the first and third

  sentences of Paragraph 2, except admits that certain Rosenberger entities develop,

  manufacture, and/or sell telecommunications equipment, including BSAs.

  Rosenberger lacks knowledge or information sufficient to form a belief as to the

  truth of the allegations set forth in the second sentence of Paragraph 2, and, on that

  basis, denies the allegations.

        3.     Rosenberger denies the allegations set forth in Paragraph 3.

        4.     Rosenberger denies the allegations set forth in Paragraph 4.

        5.     Rosenberger denies the allegations set forth in Paragraph 5.

        6.     Rosenberger denies the allegations set forth in Paragraph 6, except

  admits that Robert Cameron commenced employment with Rosenberger

  Technology in March 2019 and avers that Janet Javier commenced employment with

  Rosenberger Technology in August 2018.

        7.     Rosenberger denies the allegations set forth in Paragraph 7.

        8.     Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in the first sentence of Paragraph 8 with

  respect to CommScope’s intentions, and, on that basis, denies the allegations.

  Rosenberger denies the allegations set forth in the remainder of Paragraph 8.




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        9.     Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 9, and, on that basis, denies

  the allegations.

        10.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 10, and, on that basis, denies

  the allegations.

        11.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 11, and, on that basis, denies

  the allegations.

        12.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 12, and, on that basis, denies

  the allegations.

        13.    Rosenberger denies the allegations set forth in Paragraph 13, except

  admits that certain policies are effective at various entities, and respectfully refers

  the Court to the entirety of the referenced documents for their complete and accurate

  contents.

        14.    Rosenberger denies the allegations set forth in Paragraph 14, except

  admits that Rosenberger Kunshan has its principal place of business in Kunshan,

  Jiangsu Province, China; and is majority owned by Rosenberger Asia Pacific.




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        15.    Rosenberger denies the allegations set forth in Paragraph 15, except

  admits that Rosenberger Asia Pacific has its principal place of business in Beijing,

  China; and is majority owned by Rosenberger Hochfrequenztechnik GmbH & Co.

  KG.

        16.    Rosenberger admits the allegations set forth in the first and second

  sentences of Paragraph 16, and otherwise denies the allegations set forth in the

  remainder of Paragraph 16.

        17.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in the first and second sentence of Paragraph

  17, and, on that basis, denies the allegations, and otherwise denies the allegations set

  forth in the last sentence of Paragraph 17.

        18.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 18, and, on that basis, denies

  the allegations. Rosenberger respectfully refers the Court to the entirety of the

  referenced documents for their complete and accurate contents.

        19.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 19, and, on that basis, denies

  the allegations.

        20.    Rosenberger admits that Rosenberger Technology, Rosenberger

  Kunshan, and Rosenberger Asia Pacific are private, nonpublic entities and that



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  Rosenberger Germany is their ultimate parent. Rosenberger lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 20, and, on that basis, denies the allegations.

        21.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 21, and, on that basis, denies

  the allegations. Rosenberger avers that Northwest Instrument, Inc., is the landlord

  for Rosenberger Technology. Rosenberger respectfully refers the Court to the

  entirety of the referenced documents for their complete and accurate contents.

        22.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in the first, second, and third sentences of

  Paragraph 22, and, on that basis, denies the allegations. Rosenberger denies the

  allegations set forth in the fourth sentence of Paragraph 22.

        23.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 23, and, on that basis, denies

  the allegations.

        24.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 24, and, on that basis, denies

  the allegations.

        25.    Paragraph 25 states legal conclusions to which no response is required.

        26.    Paragraph 26 states legal conclusions to which no response is required.



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        27.    Paragraph 27 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger denies the allegations set forth in

  Paragraph 27, except admits that Rosenberger Technology is organized under the

  laws of the state of New Jersey, has its principal place of business in New Jersey,

  and is subject to personal jurisdiction in this Court. Rosenberger lacks knowledge

  or information sufficient to form a belief as to the truth of the allegations set forth in

  the remainder of Paragraph 27, and, on that basis, denies the allegations.

        28.    Paragraph 28 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger denies the allegations set forth in

  the first two sentences of Paragraph 28.           Rosenberger lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  the last two sentences of Paragraph 28, and, on that basis, denies the allegations.

        29.    Paragraph 29 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger denies the allegations set forth in

  the first and second sentences of Paragraph 29. Rosenberger lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  the remainder of Paragraph 29, and, on that basis, denies the allegations.

        30.    Paragraph 30 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger denies the allegations set forth in

  Paragraph 30.



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         31.    Paragraph 31 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger denies the allegations set forth in

  the first sentence of Paragraph 31. Rosenberger lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in the remainder

  of Paragraph 31, and, on that basis, denies the allegations.

         32.    Paragraph 32 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger denies the allegations set forth in

  Paragraph 32, except that Rosenberger Asia Pacific admits that it is a minority owner

  of Northwest Instrument (Shanghai) Co., Ltd. Rosenberger respectfully refers the

  Court to the entirety of the referenced documents for their complete and accurate

  contents.

         33.    Paragraph 33 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in the last sentence

  of Paragraph 33, and, on that basis, denies the allegations. Rosenberger Asia Pacific

  and Rosenberger Kunshan admit that they are not subject to personal jurisdiction in

  any specific state. Rosenberger otherwise denies the allegations set forth in the

  remainder of Paragraph 33.

         34.    Paragraph 34 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger lacks knowledge or information



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  sufficient to form a belief as to the truth of the allegations set forth in the last sentence

  of Paragraph 34, and, on that basis, denies the allegations, and otherwise denies the

  allegations set forth in the remainder of Paragraph 34.

         35.    Paragraph 35 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in Paragraph 35,

  and, on that basis, denies the allegations.

         36.    Paragraph 36 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in Paragraph 36,

  and, on that basis, denies the allegations.

         37.    Paragraph 37 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger denies the allegations set forth in

  Paragraph 37.

         38.    Rosenberger denies the allegations set forth in Paragraph 38.

         39.    Rosenberger denies the allegations set forth in Paragraph 39, except

  admits that BSAs can sometimes be complicated and valuable equipment and are

  sometimes attached to cellular towers or on rooftops.

         40.    Rosenberger denies the allegations set forth in Paragraph 40, except

  admits that BSAs sometimes use radio frequencies to exchange signals with mobile



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  devices like cell phones and can receive and transmit radio signals at great distance

  with minimal interference.

        41.    Rosenberger denies that AAAP and PSOAA are “trade secret software

  programs” and otherwise lacks knowledge or information sufficient to state a belief

  as to the truth of the allegations set forth in Paragraph 41, and, on that basis, denies

  the allegations.

        42.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 42, and, on that basis, denies

  the allegations.

        43.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 43, and, on that basis, denies

  the allegations.

        44.    Rosenberger lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in Paragraph 44, and, on that basis, denies

  the allegations.

        45.    Rosenberger denies that the referenced software programs are “trade

  secret software programs” and otherwise lacks knowledge or information sufficient

  to state a belief as to the truth of the allegations set forth in Paragraph 45, and, on

  that basis, denies the allegations.




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         46.    Rosenberger denies that Andrew Antenna Format is a “trade secret

   format” and that the other referenced software tools are trade secrets. Rosenberger

   otherwise lacks knowledge or information sufficient to state a belief as to the truth

   of the allegations set forth in Paragraph 46, and, on that basis, denies the allegations.

         47.    Rosenberger denies that the referenced design, methods, and software

   programs are trade secrets, and otherwise lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations set forth in the remainder of

   Paragraph 47, and, on that basis, denies the allegations.

         48.    Rosenberger denies the allegations set forth in Paragraph 48.

         49.    Rosenberger denies the allegations set forth in Paragraph 49.

         50.    Rosenberger denies the allegations set forth in Paragraph 50.

         51.    Rosenberger denies the allegations set forth in Paragraph 51.

         52.    Rosenberger denies the allegations set forth in Paragraph 52.

         53.    Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in the last sentence of Paragraph 53, and,

   on that basis, denies the allegations. Rosenberger denies the allegations set forth in

   the remainder of Paragraph 53.

         54.    Rosenberger denies the allegations set forth in Paragraph 54.




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         55.    Rosenberger denies the allegations set forth in Paragraph 55, except

   admits that Rosenberger Kunshan has employees who are former CommScope

   employees.

         56.    Rosenberger denies the allegations set forth in Paragraph 56.

         57.    Rosenberger denies the allegations set forth in Paragraph 57, except

   admits that Aili Liu is the President of Rosenberger Asia Pacific and that

   Rosenberger Asia Pacific is a minority owner of Northwest Instrument (Shanghai)

   Co., Ltd. Rosenberger respectfully refers the Court to the referenced documents for

   their complete and accurate contents.

         58.    Rosenberger denies the allegations set forth in Paragraph 58.

         59.    Rosenberger denies that the referenced programs are trade secrets.

   Rosenberger admits that certain employees had AAAP, PSOAA, and one related

   program, and otherwise denies the allegations set forth in Paragraph 59.

   Rosenberger avers that CommScope has failed to take reasonable measures to

   protect the confidentiality of the referenced programs and has distributed the

   programs to third parties.

         60.    Rosenberger denies that AAAP is a trade secret. Rosenberger admits

   that certain employees had AAAP, but otherwise denies the allegations set forth in

   Paragraph 60. Rosenberger avers that CommScope has failed to take reasonable




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   measures to protect the confidentiality of AAAP and has distributed the program to

   third parties.

          61.       Rosenberger denies that PSOAA is a trade secret. Rosenberger admits

   that certain employees had PSOAA, but otherwise denies the allegations set forth in

   Paragraph 61. Rosenberger avers that CommScope has failed to take reasonable

   measures to protect the confidentiality of PSOAA and has distributed the program

   to third parties.

          62.       Rosenberger denies the allegations set forth in Paragraph 62.

          63.       Rosenberger denies that HFSS to AAF is a trade secret. Rosenberger

   admits that certain employees had HFSS to AAF, but otherwise denies the

   allegations set forth in Paragraph 63. Rosenberger avers that CommScope has failed

   to take reasonable measures to protect the confidentiality of HFSS to AAF and has

   distributed the program to third parties.

          64.       Rosenberger denies the allegations set forth in Paragraph 64.

          65.       Rosenberger denies the allegations set forth in Paragraph 65.

          66.       Rosenberger denies the allegations set forth in Paragraph 66, except

   admits that CommScope makes Antenna Pattern Viewer publicly available.

          67.       Rosenberger denies that Andrew Antenna Format is a trade secret.

   Rosenberger admits that certain employees had Andrew Antenna Format files, but

   otherwise denies the allegations set forth in Paragraph 67. Rosenberger avers that



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   CommScope has failed to take reasonable measures to protect the confidentiality of

   the AAF file format and has distributed such files to third parties.

         68.    Rosenberger denies the allegations set forth in Paragraph 68.

         69.    Rosenberger denies the allegations set forth in Paragraph 69.

         70.    Rosenberger denies the allegations set forth in Paragraph 70.

         71.    Rosenberger denies the allegations set forth in Paragraph 71.

         72.    Rosenberger denies the allegations set forth in Paragraph 72.

         73.    Rosenberger denies the allegations set forth in Paragraph 73.

         74.    Rosenberger denies that AAF is a “trade secret.” Rosenberger admits

   that certain employees may have received Andrew Antenna Format files, but

   otherwise denies the allegations set forth in Paragraph 74. Rosenberger avers that

   CommScope has failed to take reasonable measures to protect the confidentiality of

   the AAF file format and has distributed such files to third parties.

         75.    Rosenberger denies the allegations set forth in Paragraph 75, except

   admits that Rosenberger Kunshan, Rosenberger Asia Pacific, and Rosenberger

   Technology have stated that they have isolated AAAP and PSOAA programs and

   stated that they will not use any of the AAAP or PSOAA programs found in the

   possession of some employees.

         76.    Rosenberger denies the allegations set forth in Paragraph 76.

         77.    Rosenberger denies the allegations set forth in Paragraph 77.



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         78.    Rosenberger denies the allegations set forth in Paragraph 78, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         79.    Rosenberger denies the allegations set forth in Paragraph 79, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         80.    Rosenberger denies the allegations set forth in Paragraph 80, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         81.    Rosenberger denies the allegations set forth in Paragraph 81, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         82.    Rosenberger denies the allegations set forth in Paragraph 82, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         83.    Rosenberger denies the allegations set forth in Paragraph 83, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         84.    Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 84 concerning the contents of



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   CommScope’s source code, and, on that basis, denies the allegations. Rosenberger

   otherwise denies the allegations set forth in the remainder of Paragraph 84.

         85.    Rosenberger denies the allegations set forth in Paragraph 85.

         86.    Rosenberger admits that Cameron and Javier have communicated with

   T-Mobile regarding BSAs, and that Gallagher has been included in certain of these

   communications.     Rosenberger otherwise denies the allegations set forth in

   Paragraph 86, and respectfully refers the Court to the referenced presentation for its

   complete and accurate contents.

         87.    Rosenberger denies the allegations set forth in Paragraph 87, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         88.    Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 88 concerning CommScope’s

   source code, and, on that basis, denies the allegations. Rosenberger otherwise denies

   the allegations set forth in Paragraph 88, and respectfully refers the Court to the

   entirety of the referenced presentation for its complete and accurate contents.

         89.    Rosenberger denies the allegations set forth in Paragraph 89, except

   admits that wireless service providers sometimes conduct field trials of antennas and

   Rosenberger has participated in field trials of BSAs with T-Mobile.

         90.    Rosenberger denies the allegations set forth in Paragraph 90.



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         91.    Rosenberger denies the allegations set forth in Paragraph 91, except

   admits that certain Rosenberger entities obtained AT&T’s approval to sell certain

   BSAs to AT&T. Rosenberger respectfully refers the Court to the entirety of the

   referenced presentations for their complete and accurate contents.

         92.    Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations in Paragraph 92 concerning AT&T’s “typical[]”

   practices, and, on that basis, denies the allegations.       Rosenberger denies the

   allegations set forth in the remainder of Paragraph 92.

         93.    Rosenberger denies the allegations set forth in Paragraph 93, and

   respectfully refers the Court to the entirety of the referenced documents for their

   complete and accurate contents.

         94.    Rosenberger denies the allegations set forth in Paragraph 94, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         95.    Rosenberger denies the allegations set forth in Paragraph 95, and

   respectfully refers the Court to the entirety of the referenced presentations for their

   complete and accurate contents.

         96.    Rosenberger denies the allegations set forth in Paragraph 96, and

   respectfully refers the Court to the entirety of the referenced presentations for their

   complete and accurate contents.



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         97.    Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 97, and, on that basis, denies

   the allegations. Rosenberger respectfully refers the Court to the entirety of the

   referenced document for its complete and accurate contents.

         98.    Rosenberger denies the allegations set forth in Paragraph 98.

         99.    Rosenberger denies the allegations set forth in Paragraph 99.

         100. Rosenberger denies the allegations set forth in Paragraph 100.

         101. Rosenberger denies the allegations set forth in the first sentence of

   Paragraph 101 concerning “misappropriation of the Simulation Software,” the fourth

   sentence describing PSOAA as “a CommScope proprietary program that only

   CommScope’s employees can access,” and the allegations in the last sentence of

   Paragraph 101. Rosenberger otherwise lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the remainder of Paragraph

   101, and, on that basis, denies the allegations.

         102. Rosenberger denies the allegations set forth in Paragraph 102.

         103. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 103, and, on that basis, denies

   the allegations.

         104. Rosenberger denies the allegations set forth in Paragraph 104.




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         105. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in the first and second sentences of

   Paragraph 105, and, on that basis, denies the allegations. Rosenberger denies the

   allegations set forth in the remainder of Paragraph 105.

         106. Rosenberger denies the allegations set forth in Paragraph 106.

         107. Rosenberger denies the allegations set forth in Paragraph 107.

         108. Paragraph 108 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger denies the allegations set forth in

   Paragraph 108.

         109. Paragraph 109 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger denies the allegations set forth in

   Paragraph 109.

         110. Rosenberger denies the allegations set forth in Paragraph 110.

         111. Rosenberger denies the allegations set forth in Paragraph 111.

         112. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 112, and, on that basis, denies

   the allegations, and respectfully refers the Court to the referenced website for its

   complete and accurate contents.

         113. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 113, and, on that basis, denies



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   the allegations. Rosenberger respectfully refers the Court to the referenced website

   for its complete and accurate contents.

         114. Rosenberger denies the allegations set forth in Paragraph 114.

   Rosenberger respectfully refers the Court to the referenced document for its

   complete and accurate contents.

         115. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 115, and, on that basis, denies

   the allegations, and respectfully refers the Court to the referenced document for its

   complete and accurate contents.

         116. Rosenberger denies the allegations set forth in Paragraph 116, and

   respectfully refers the Court to the referenced document for its complete and

   accurate contents.

         117. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 117, and, on that basis, denies

   the allegations, and respectfully refers the Court to the referenced agreement for its

   complete and accurate contents.

         118. Rosenberger denies the allegations set forth in Paragraph 118, and

   respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

         119. Rosenberger denies the allegations set forth in Paragraph 119.



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         120. Rosenberger denies the allegations set forth in Paragraph 120, and

   respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

         121. Rosenberger denies the allegations set forth in Paragraph 121.

         122. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 122, and, on that basis, denies

   the allegations.

         123. Paragraph 123 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 123,

   and, on that basis, denies the allegations, and respectfully refers the Court to the

   referenced agreement for its complete and accurate contents.

         124. Paragraph 124 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 124,

   and, on that basis, denies the allegations, and respectfully refers the Court to the

   referenced agreement for its complete and accurate contents.

         125. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 125, and, on that basis, denies




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   the allegations, and respectfully refers the Court to the entirety of the referenced

   agreement for its complete and accurate contents.

         126. Paragraph 126 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 126,

   and, on that basis, denies the allegations.

         127. Paragraph 127 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 127,

   and, on that basis, denies the allegations.

         128. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 128, and, on that basis, denies

   the allegations, and respectfully refers the Court to the entirety of the referenced

   agreement for its complete and accurate contents.

         129. Paragraph 129 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 129,

   and, on that basis, denies the allegations, and respectfully refers the Court to the

   entirety of the referenced agreement for its complete and accurate contents.




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         130. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 130, and, on that basis, denies

   the allegations, and respectfully refers the Court to the entirety of the referenced

   agreement for its complete and accurate contents.

         131. Paragraph 131 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 131,

   and, on that basis, denies the allegations, and respectfully refers the Court to the

   referenced agreement for its complete and accurate contents.

         132. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 132, and, on that basis, denies

   the allegations.

         133. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 133, and, on that basis, denies

   the allegations.

         134. Paragraph 134 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 134,

   and, on that basis, denies the allegations, and respectfully refers the Court to the

   referenced statement for its complete and accurate contents.



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         135. Paragraph 135 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 135,

   and, on that basis, denies the allegations, and respectfully refers the Court to the

   referenced agreement for its complete and accurate contents.

         136. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 136, and, on that basis, denies

   the allegations.

         137. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 137, and, on that basis, denies

   the allegations.

         138. Paragraph 138 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 138,

   and, on that basis, denies the allegations, and respectfully refers the Court to the

   referenced agreement for its complete and accurate contents.

         139. Rosenberger denies the allegations set forth in Paragraph 139, except

   admits that Javier is a Vice President of Product Line Management and Cameron is

   a Product Line Manager.




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         140. Paragraph 140 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger admits that Javier and Cameron

   have contacted T-Mobile on behalf of Rosenberger. Rosenberger otherwise lacks

   knowledge or information sufficient to form a belief as to the truth of the remainder

   of the allegations set forth in Paragraph 140, and, on that basis, denies the

   allegations.

         141. Rosenberger admits the allegations set forth in Paragraph 141.

         142. Rosenberger admits that Javier worked with T-Mobile with respect to

   a field trial in New York, and otherwise denies the allegations in Paragraph 142.

   Rosenberger respectfully refers the Court to the referenced documents for their

   complete and accurate contents.

         143. Rosenberger admits that Javier was involved in a trial for T-Mobile and

   has communicated with certain T-Mobile employees. Rosenberger otherwise lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in the first sentence and the second clause of the second sentence of

   Paragraph 143, and, on that basis, denies the allegations, and otherwise denies the

   allegations in Paragraph 143.

         144. Rosenberger admits that Javier and Cameron were involved in a trial

   for T-Mobile and have communicated with T-Mobile regarding Rosenberger BSAs.

   Rosenberger otherwise lacks knowledge or information sufficient to form a belief as



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   to the truth of the allegations set forth in the remainder of Paragraph 144, and, on

   that basis, denies the allegations.

         145. Rosenberger admits that Javier worked with T-Mobile on a project in

   Los Angeles and that Cameron assisted with that trial. Rosenberger otherwise lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 145, and, on that basis, denies the allegations.

         146. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 146, and, on that basis, denies

   the allegations.

         147. Rosenberger denies the allegations set forth in the first sentence of

   Paragraph 147, and lacks knowledge or information sufficient to form a belief as to

   the truth of the allegations set forth in the remainder of Paragraph 147, and, on that

   basis, denies the allegations.

         148. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in the first and second sentences of

   Paragraph 148, and, on that basis, denies the allegations. Rosenberger denies the

   allegations set forth in the third sentence of Paragraph 148.

         149. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in the first and second sentences of




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   Paragraph 149, and, on that basis, denies the allegations. Rosenberger denies the

   allegations set forth in the third sentence of Paragraph 149.

         150. Rosenberger denies the allegations set forth in Paragraph 150.

         151. Rosenberger denies the allegations set forth in Paragraph 151.

         152. Rosenberger denies the allegations set forth in Paragraph 152, and

   respectfully refers the Court to the referenced document for its complete and

   accurate contents.

         153. Rosenberger denies the allegations set forth in Paragraph 153.

         154. Rosenberger denies the allegations set forth in Paragraph 154.

         155. Paragraph 155 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in Paragraph 155,

   and, on that basis, denies the allegations.

         156. Rosenberger denies the allegations set forth in Paragraph 156.

         157. Rosenberger admits that Javier and Cameron are employed by

   Rosenberger Technology, focus on sales of BSAs in the United States, and use

   Rosenberger Asia Pacific email addresses.          Rosenberger otherwise denies the

   allegations set forth in Paragraph 157, except admits that Rosenberger Asia Pacific

   is the parent company of Rosenberger Technology.




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         158. Rosenberger admits that Javier and Cameron have been in contact with

   T-Mobile concerning BSA sales. Rosenberger otherwise denies the allegations set

   forth in Paragraph 158, and respectfully refers the Court to the entirety of the

   referenced document for its complete and accurate contents.

         159. Rosenberger denies that Dkt. No. 6 applies to CellMax Technologies

   AB or to Northwest Instrument, Inc., and respectfully refers the Court to the

   referenced document for its complete and accurate contents.

         160. Rosenberger denies that Dkt. No. 6 applies to CellMax Technologies

   AB or to Northwest Instrument, Inc., and respectfully refers the Court to the

   referenced document for its complete and accurate contents.

         161. Rosenberger denies the allegations set forth in Paragraph 161, except

   admits that the ex parte seizure was executed at Rosenberger Technology’s facility

   on August 27, 2019.

         162. Rosenberger denies the allegations set forth in Paragraph 162.

         163. Rosenberger denies the allegations set forth in Paragraph 163.

         164. Rosenberger denies the allegations set forth in Paragraph 164.

         165. Rosenberger denies the allegations set forth in Paragraph 165.

         166. Rosenberger denies the allegations set forth in Paragraph 166.

         167. Rosenberger denies the allegations set forth in Paragraph 167.

         168. Rosenberger denies the allegations set forth in Paragraph 168.



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         169. Rosenberger denies the allegations set forth in Paragraph 169.

         170. Rosenberger denies the allegations set forth in Paragraph 170.

         171. Rosenberger denies the allegations set forth in Paragraph 171.

         172. Rosenberger denies the allegations set forth in Paragraph 172.

         173. Rosenberger denies the allegations set forth in Paragraph 173.

         174. Rosenberger denies the allegations set forth in Paragraph 174.

         175. Rosenberger denies the allegations set forth in Paragraph 175.

         176. Rosenberger incorporates by reference its responses to the foregoing

   allegations.

         177. Rosenberger denies the allegations set forth in Paragraph 177.

         178. Rosenberger denies the allegations set forth in Paragraph 178.

         179. Rosenberger denies the allegations set forth in Paragraph 179.

         180. Rosenberger denies the allegations set forth in Paragraph 180.

         181. Rosenberger denies the allegations set forth in Paragraph 181.

         182. Rosenberger denies the allegations set forth in Paragraph 182.

         183. Rosenberger denies the allegations set forth in Paragraph 183.

         184. Rosenberger denies the allegations set forth in Paragraph 184.

         185. Rosenberger denies the allegations set forth in Paragraph 185.

         186. Rosenberger denies the allegations set forth in Paragraph 186.

         187. Rosenberger denies the allegations set forth in Paragraph 187.



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         188. Rosenberger denies the allegations set forth in Paragraph 188.

         189. Rosenberger denies the allegations set forth in Paragraph 189.

         190. Rosenberger denies the allegations set forth in Paragraph 190.

         191. Rosenberger incorporates by reference its responses to the foregoing

   allegations.

         192. Rosenberger denies the allegations set forth in Paragraph 192.

         193. Rosenberger denies the allegations set forth in Paragraph 193.

         194. Rosenberger denies the allegations set forth in Paragraph 194.

         195. Rosenberger denies the allegations set forth in Paragraph 195.

         196. Rosenberger denies the allegations set forth in Paragraph 196.

         197. Rosenberger denies the allegations set forth in Paragraph 197.

         198. Rosenberger denies the allegations set forth in Paragraph 198.

         199. Rosenberger denies the allegations set forth in Paragraph 199.

         200. Rosenberger denies the allegations set forth in Paragraph 200.

         201. Rosenberger denies the allegations set forth in Paragraph 201.

         202. Rosenberger incorporates by reference its responses to the foregoing

   allegations.

         203. Rosenberger denies the allegations set forth in Paragraph 203.

         204. Rosenberger denies the allegations set forth in Paragraph 204.

         205. Rosenberger denies the allegations set forth in Paragraph 205.



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         206. Rosenberger denies the allegations set forth in Paragraph 206.

         207. Rosenberger denies the allegations set forth in Paragraph 207.

         208. Rosenberger denies the allegations set forth in Paragraph 208.

         209. Rosenberger denies the allegations set forth in Paragraph 209.

         210. Rosenberger denies the allegations set forth in Paragraph 210.

         211. Rosenberger denies the allegations set forth in Paragraph 211.

         212. Rosenberger denies the allegations set forth in Paragraph 212.

         213. Rosenberger denies the allegations set forth in Paragraph 213.

         214. Rosenberger incorporates by reference its responses to the foregoing

   allegations.

         215. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 215, and, on that basis, denies

   the allegations.

         216. Rosenberger denies the allegations set forth in Paragraph 216.

         217. Rosenberger denies the allegations set forth in Paragraph 217.

         218. Rosenberger denies the allegations set forth in Paragraph 218.

         219. Rosenberger denies the allegations set forth in Paragraph 219.

         220. Rosenberger denies the allegations set forth in Paragraph 220.

         221. Rosenberger denies the allegations set forth in Paragraph 221.

         222. Rosenberger denies the allegations set forth in Paragraph 222.



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         223. Rosenberger denies the allegations set forth in Paragraph 223.

         224. Rosenberger incorporates by reference its responses to the foregoing

   allegations.

         225. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 225, and, on that basis, denies

   the allegations.    Rosenberger respectfully refers the Court to the referenced

   documents for their complete and accurate contents.

         226. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 226, and, on that basis, denies

   the allegations.    Rosenberger respectfully refers the Court to the referenced

   documents for their complete and accurate contents.

         227. Paragraph 227 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 227, and, on that basis, denies the allegations.

         228. Paragraph 228 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 228, and, on that basis, denies the allegations.




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         229. Paragraph 229 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 229, and, on that basis, denies the allegations.

         230. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 230, and, on that basis, denies

   the allegations.

         231. Paragraph 231 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 231.

         232. Paragraph 232 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 232.

         233. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 233, and, on that basis, denies

   the allegations.

         234. Paragraph 234 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 234.




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         235. Paragraph 235 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 235.

         236. Rosenberger denies the allegations set forth in Paragraph 236.

         237. Paragraph 237 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 237.

         238. Paragraph 238 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger respectfully refers the

   Court to the entirety of the referenced agreements for their complete and accurate

   contents.

         239. Rosenberger incorporates by reference its responses to the foregoing

   allegations.

         240. Paragraph 240 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger denies the allegations set forth in

   Paragraph 240.

         241. Paragraph 241 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 241.




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         242. Paragraph 242 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 242.

         243. Paragraph 243 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in the first

   sentence of Paragraph 243, and, on that basis, denies the allegations. Rosenberger

   denies the remainder of the allegations set forth in Paragraph 243.

         244. Paragraph 244 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 244, and, on that basis, denies the allegations.

         245. Paragraph 245 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 245, and, on that basis, denies the allegations.

         246. Rosenberger denies the allegations set forth in Paragraph 246.

         247. Rosenberger incorporates by reference its responses to the foregoing

   allegations.




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         248. Rosenberger admits that it is not a party to the Agreements referenced

   in Paragraph 248 and respectfully refers the Court to the referenced agreements for

   their complete and accurate contents.

         249. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 249, and, on that basis, denies

   the allegations.

         250. Rosenberger denies the allegations set forth in Paragraph 250.

         251. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 251, and, on that basis, denies

   the allegations.

         252. Paragraph 252 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger denies the allegations set forth in

   Paragraph 252.

         253. Rosenberger denies the allegations set forth in Paragraph 253.

         254. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in Paragraph 254, and, on that basis, denies

   the allegations.

         255. Rosenberger denies the allegations set forth in Paragraph 255.

         256. Rosenberger denies the allegations set forth in Paragraph 256.

         257. Rosenberger denies the allegations set forth in Paragraph 257.



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         258. Rosenberger lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in the first sentence and the first clause of

   the second sentence of Paragraph 258, and, on that basis, denies the allegations, and

   otherwise denies the allegations set forth in Paragraph 258.

         259. Paragraph 259 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 259, and, on that basis, denies the allegations.

         260. Paragraph 260 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 260, and, on that basis, denies the allegations.

         261. Rosenberger denies the allegations set forth in Paragraph 261.

         262. Rosenberger incorporates by reference its responses to the foregoing

   allegations.

         263. Rosenberger denies the allegations set forth in Paragraph 263.

         264. Rosenberger denies the allegations set forth in Paragraph 264.

         265. Rosenberger denies the allegations set forth in Paragraph 265.

         266. Rosenberger denies the allegations set forth in Paragraph 266.

         267. Rosenberger denies the allegations set forth in Paragraph 267.



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         268. Rosenberger denies the allegations set forth in Paragraph 268.

         269. Rosenberger denies the allegations set forth in Paragraph 269.

         270. Rosenberger denies the allegations set forth in Paragraph 270.

         271. Rosenberger denies the allegations set forth in Paragraph 271.

         272. Rosenberger denies the allegations set forth in Paragraph 272.

         273. Rosenberger incorporates by reference its responses to the foregoing

   allegations.

         274. Paragraph 274 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 274.

         275. Rosenberger denies the first two sentences of Paragraph 275.

   Rosenberger admits that Rosenberger Site Solutions makes certain decisions

   independently of other entities named as defendants, but otherwise lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of the last sentence of Paragraph 275, and, on that basis, denies the

   allegations.

         276. Rosenberger denies the allegations set forth in Paragraph 276.

         277. Rosenberger denies the allegations set forth in Paragraph 277.

         278. Rosenberger incorporates by reference its responses to the foregoing

   allegations.



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         279. Paragraph 279 states a legal conclusion to which no response is

   required.

         280. Paragraph 280 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger denies the allegations

   set forth in Paragraph 280.

         281. Rosenberger denies the allegations set forth in Paragraph 281.

         282. Rosenberger denies the allegations set forth in Paragraph 282.

         283. Rosenberger denies the allegations set forth in Paragraph 283.

         284. Rosenberger denies the allegations set forth in Paragraph 284.

         285. Rosenberger denies the allegations set forth in Paragraph 285.

         286. Rosenberger denies the allegations set forth in Paragraph 286.

         287. Rosenberger denies the allegations set forth in Paragraph 287.

         288. Rosenberger denies the allegations set forth in Paragraph 288.

                             AFFIRMATIVE DEFENSES

         289. By alleging the Affirmative Defenses set forth below, Rosenberger

   intends no alteration of the burden of proof and/or burden of going forward with

   evidence which otherwise exists with respect to any particular issues at law or in

   equity. Furthermore, all such defenses are pleaded in the alternative, and do not

   constitute an admission of liability or that Plaintiffs are entitled to any relief

   whatsoever.



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                                 First Affirmative Defense

         290. Plaintiffs’ claims are barred in whole or in part because the Second

   Amended Complaint fails to state a claim upon which relief can be granted.

                                Second Affirmative Defense

         291. Plaintiffs’ claims are barred in whole or in part by the applicable

   statutes of limitations, laches, and the statute of repose.

                                 Third Affirmative Defense
         292. Plaintiffs’ claims are barred in whole or in part by the doctrines of

   laches, waiver, consent, release, estoppel, unclean hands, and/or ratification.

                                Fourth Affirmative Defense
         293. Plaintiffs’ claims are barred in whole or in part by the doctrine of

   equitable estoppel.

                                 Fifth Affirmative Defense

         294. Plaintiffs’ claims are barred because Plaintiffs have failed to show that

   what they allege to be trade secrets are actually trade secrets under the law.

                                 Sixth Affirmative Defense

         295. Plaintiffs’ claims are barred because, to the extent any form of trade

   secrets exists, Plaintiffs have not shown that Plaintiffs are the owners of the alleged

   trade secrets.




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                              Seventh Affirmative Defense

         296. Plaintiffs’ claims are barred because Plaintiffs have failed to identify

   the specific trade secrets allegedly misappropriated and used by Defendants.

                               Eighth Affirmative Defense

         297. Plaintiffs’ claims are barred because the alleged trade secrets are either

   generally known or readily ascertainable by proper means, were not valuable

   business information, or were not the subject of efforts that were reasonable under

   the circumstances to maintain their secrecy.

                               Ninth Affirmative Defense

         298. Plaintiffs’ claims are barred because Plaintiffs failed to take reasonable

   steps to maintain and safeguard the secrecy of any information claimed in this action

   to be a trade secret.

                               Tenth Affirmative Defense

         299. Plaintiffs’ claims are barred because they have not suffered any losses

   or damages proximately caused by the conduct of Defendants alleged in the Second

   Amended Complaint.

                              Eleventh Affirmative Defense
         300. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because Plaintiffs’ alleged trade secrets have been disclosed publicly or were

   generally known.



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                               Twelfth Affirmative Defense

         301. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because the technology and processes used to make the accused products were

   independently developed.

                              Thirteenth Affirmative Defense

         302. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because, to the extent Rosenberger acquired any alleged trade secret, it did so in a

   lawful manner.

                              Fourteenth Affirmative Defense

         303. Plaintiffs’ claims are barred in whole or in part because Plaintiffs have

   failed to mitigate any damages they may have suffered.

                              Fifteenth Affirmative Defense

         304. Plaintiffs’ claims are barred in whole or in part because they cannot

   demonstrate that Defendants acted with the requisite intent.

                              Sixteenth Affirmative Defense

         305. Plaintiffs’ claims for misappropriation of trade secrets fail, in whole or

   in part, on the grounds that the alleged trade secrets or other confidential and

   proprietary information for which Plaintiffs claim they are entitled to the relief

   sought are not trade secrets because Plaintiffs cannot meet their burden to show that

   the information derives independent economic value, actual or potential, from not



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   being generally known to, and not being readily ascertainable through proper means

   by, another person who can obtain economic value from the disclosure or use of the

   information.

                            Seventeenth Affirmative Defense

         306. Plaintiffs’ claims are barred in whole or in part by the applicable statute

   of limitations.

                             Eighteenth Affirmative Defense

         307. Plaintiffs are not entitled to injunctive relief because any injury to them

   is not immediate or irreparable, Plaintiffs would have an adequate remedy at law,

   the balance of hardships weighs against an injunction, and the public interest is best

   served by not issuing an injunction.

                             Nineteenth Affirmative Defense

         308. Plaintiffs have not suffered and will not suffer harm as a result of

   Rosenberger’s alleged misconduct.

                             Twentieth Affirmative Defense

         309. Plaintiffs’ claims under United States or state law have no

   extraterritorial effect. Plaintiffs are barred from asserting such claims concerning

   conduct outside the United States.




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                              Twenty-First Affirmative Defense

         310. Any decision by a court outside the United States, or agreement entered

   into by the parties outside the United States, should be given deference as a matter

   of comity.

                             Twenty-Second Affirmative Defense

         311. Rosenberger hereby adopts by reference any additional applicable

   defense pleaded by any other defendant and not otherwise pleaded herein, as well as

   any defense available under the statutes relied upon by Plaintiffs. Rosenberger

   intends to rely upon any additional defense that is now or may become available or

   appears during or as a result of the discovery proceedings in this action, and

   expressly reserves its right to amend its answer to assert any such defense.

         WHEREFORE, Rosenberger demands judgment in its favor and against the

   Plaintiffs, as follows:

                (a)    For Rosenberger and against Plaintiffs on each and every claim
                       set forth in the Second Amended Complaint;
                (b)    Awarding Rosenberger reasonable attorneys’ fees and costs as
                       well as such other and further relief as the Court may deem just
                       and proper.




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   Dated: September 7, 2021

                                      Respectfully submitted,
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                                      Hochfrequenztechnik GmbH & Co. KG, and
                                      Northwest Instrument, Inc.



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